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                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA

IN RE:                                             CHAPTER 13


Larry D. Dillard                                   CASE NO:             13-30073-JPS
Darlene Dillard
1620 Etchison Spur
Loganville, GA 30052                               ATTORNEY: Jason M. Orenstein, PC



    NOTICE OF TRUSTEE’S MOTION TO COMPEL TURNOVER OF FUNDS AND
  OBJECTION TO POST PETITION MORTGAGE FEES, EXPENSES AND CHARGES

CAMILLE HOPE, CHAPTER 13 TRUSTEE, HAS FILED DOCUMENTS WITH THE COURT FOR MOTION FOR
TURNOVER.

YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and discuss them with
your attorney, if you have on in this bankruptcy case. If you do not have an attorney, you may wish to
consult one. If not served with this notice in accordance with the Bankruptcy Code or the Federal Rules
of Bankruptcy Procedure, a copy of the motion (or other type of pleading) may be obtained upon written
request to counsel for the Movant (identified below) or at the Clerk’s office.

If you do not want the court to grant the Trustee’s Motion or if you want the court to consider your views
on the motion, then you or your attorney shall file with the court a written objection or response on or
before NOVEMBER 2, 2017, pursuant to FRBP 9006(f). If you are receiving this notice by mail, you
may add 3 days to the response date stated above. The objection or response should be sent to:

Clerk, US Bankruptcy Court
Middle District of Georgia
PO Box 1957
Macon, GA 31202

If an objection or response is filed, a hearing on the motion shall be held on:

DECEMBER 13, 2017 – 2:00 PM
U. S. COURTROOM - ATHENS
U.S. POST OFFICE BUILDING
115 E. HANCOCK AVENUE
ATHENS GA 30601

If you mail your response or objection to the court for filing, you shall send it early enough so the
court will receive the objection or response on or before the response date stated above.

Any response or objection shall be served on the movant.

If you or your attorney does not take steps, the court may decide that you do not oppose the
relief sought in the motion or objection and may enter an order granting relief.
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This notice is sent by the undersigned pursuant to M.D. GA L.B.R. 9004-1 (c)(5)(b).

DATED: October 13, 2017


Prepared by:
CAMILLE HOPE                              KYLE GEORGE, CLERK
CHAPTER 13 TRUSTEE                        UNITED STATES BANKRUPTCY COURT
P.O. BOX 954                              P.O. BOX 1957
MACON, GA 31202                           MACON, GA 31202
Tel: (478) 742-8706                       Tel: (478)-752-3506
docomt@chapter13macon.com




                                   CERTIFICATE OF SERVICE

I HEREBY CERTIFY a true and correct copy of the attached document was sent (1) via electronic
notice to parties who are ECF Filers and Consenting Users, (2) via electronic notice to ECF Filers
and Consenting Users who represent parties, and (3) mailed postage prepaid to all other
interested parties at their addresses shown below.

 Via U.S. Mail:                                     Via Electronic Notice:
 Larry D. Dillard                                   Stephen Louis Noel, PC
 Darlene Dillard
 1620 Etchison Spur
 Loganville, GA 30052

 Rushmore Loan Management Services,LLC

 P.O. Box 52708
 Irvine, CA 92619-2708

 Aldridge Pite, LLP
 Fifteen Piedmont Center
 3575 Piedmont Road, NE, Suite 500
 Atlanta GA 30305

 Corporation Service Company
 Registered Agent
 40 Technology Parkway South Suite 300
   Ben Hill
 Norcross, GA 30092



DATED: October 13, 2017
                                                     /s/ Camille Hope
                                                     Camille Hope, Trustee
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                                                      Office of the Chapter 13 Trustee




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


IN RE:                            )
                                  )
Larry D. Dillard                  )
Darlene Dillard                   )                                 CHAPTER 13
       Debtor.                    )
CAMILLE HOPE, TRUSTEE             )
vs.                               )
RUSHMORE LOAN MANAGEMENT SERVICES )                                 CASE NO. 13-30073-JPS
  LLC Creditor.                   )



            TRUSTEE’S MOTION TO COMPEL TURNOVER OF FUNDS AND
      OBJECTION TO POST-PETITION MORTGAGE FEES, EXPENSES AND CHARGES

        Now comes the Chapter 13 Trustee and files this her motion to compel turnover of funds
against Rushmore Loan Management Services, LLC.

                                                1.
       The debtors filed for relief under Chapter 13 of the Bankruptcy Code on January 17, 2013
and their plan was confirmed by the Court on July 26, 2013.

                                                  2.
        On March 26, 2013, a claim, Court document #8 was filed by Wells Fargo Bank, N.A. in the
amount of $5,760.85 which was claimed for pre-petition arrears. On January 27, 2016 this mortgage
account was transferred to Rushmore Loan Management Services, LLC.
                                                  3.
        On August 4, 2016 the claim was amended by Rushmore Loan Management Services, LLC
to increase the pre-petition arrears amount claimed to $14,994.56.

                                                4.
        On January 16, 2017 the debtor’s attorney filed an objection against the amended claim filed
by Rushmore Loan Management Services, LLC. A response was filed. On May 30, 2017 a
Consent Order was signed by Judge James P. Smith reducing the pre-petition arrears allowed to
$11,994.56. At that time a total of $15,267.56 had been disbursed by the Trustee to Rushmore
Loan Management Services, LLC. The creditor has been asked to return the $3273.00 overpayment
but has not responded.

                                                   5.
       In addition, Rushmore Loan Management Services, LLC has filed Document #94 Notice of
Postpetition Mortgage Fees, Expenses & Charges requesting $442.50 in post petition fees. There is
no basis for these fees and they should not be allowed.

                                                 6.
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        WHEREFORE, the Trustee prays that the Court enter an Order compelling Rushmore
Loan Management Services, LLC to turnover of funds in the amount of $3,273.00 immediately and
for the post-petition mortgage fees in the amount of $442.50 to be disallowed.

DATED: October 13, 2017               s/ Camille Hope
                                      OFFICE OF THE CHAPTER 13 TRUSTEE
                                      P.O. BOX 954, MACON, GA 31202
